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                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MICHIGAN
                        _______________________________

VERNON OARD,
                    Plaintiff,
                                                       Case No. 1:17-CV-1136
                                                       Hon. PAUL L. MALONEY

COUNTY OF MUSKEGON, and
14TH JUDICIAL CIRCUIT COURT,

                    Defendants.


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                       PLAINTIFF’S MOTION TO STRIKE

      Plaintiff hereby moves this Court for an order striking Docket No. 36 and

restricting public access to that entry. Instead of the intended Proof of Service of

supplemental discovery, Plaintiff’s counsel’s office inadvertently filed the

supplemental discovery itself. In addition to being contrary to Local Rules, the

supplemental discovery also contains information of non-parties and a minor.

      Accordingly, Plaintiff’s counsel requests that the information be stricken from

the docket and restricted from public view to protect the privacy of the non-parties.

A corrected Proof of Service has now been filed.
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                            PINSKY, SMITH, FAYETTE & KENNEDY, LLP
                            Attorneys for Plaintiff Vernon Oard


Dated: October 26, 2018     By:   /s/ Sarah R. Howard
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